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                                     United States District Court
                                                 for
                                       the District of Nevada

                                PETITION FOR WARRANT
                           FOR OFFENDER UNDER SUPERVISION

Name of Offender: Tawana Lolita Wells

Case Number: 2:03CR00059

Name of Sentencing Judicial Officer: Honorable Larry R. Hicks

Date of Original Sentence: September 13, 2004

Original Offense: Possession with Intent to Distribute a Controlled Substance

Original Sentence: 120 months imprisonment, followed by 60 months supervised release

Date of Prior Revocation: September 24, 2015

Revocation Sentence: Time served, with 12 months of supervised release

Date Supervision Commenced: September 24, 2015

                                   PETITIONING THE COURT

   To issue a warrant.


The probation officer believes the offender has violated the following condition(s) of supervision:

    1. Shall Not Commit Crime - The defendant shall not commit another federal state or
       local crime.

         On December 5, 2015, Wells committed the offense of Prohibited Person Possession of a
         Firearm (NRS 202.360).

         On the above referenced date, Las Vegas Metropolitan Police Department (LVMPD)
         officers contacted Wells in reference to a shooting investigation. Wells admitted to
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         LVMPD officers to being in possession of Glock 9mm. The firearm was recovered and is
         now in evidence with LVMPD. A request for prosecution has been submitted to the Clark


    2. Weapons Restriction - The defendant shall not possess a firearm, destructive device,
       or any other dangerous weapon.

         As noted in allegation #1, on December 5, 2015, Wells admitted to officers with the Las
         Vegas Metropolitan Police Department to being in possession of a firearm.

    3. Substance Abuse Treatment - You shall participate in and successfully complete a
       substance abuse treatment and/or cognitive based life skills program, which will
       include drug/alcohol testing and/or outpatient counseling, as approved and directed
       by the probation office. You shall refrain from the use and possession of beer, wine,
       liquor, and other forms of intoxicants while participating in substance abuse
       treatment. Further, you shall be required to contribute to the costs of services for
       such treatment, as approved and directed by the probation office based upon your
       ability to pay.

         Wells failed to attend treatment on November 19, 2015, and on November 25, 2015.

    4. Mental Health Treatment - You shall participate in and successfully complete a
       mental health treatment program, which may include testing, evaluation, and/or
       outpatient counseling, as approved and directed by the probation office. You shall
       refrain from the use and possession of beer, wine, liquor, and other forms of
       intoxicants while participating in mental health treatment. Further, you shall be
       required to contribute to the costs of services for such treatment, as approved and
       directed by the probation office based upon your ability to pay.

         Wells failed to attend treatment on November 19, 2015, and on November 25, 2015.

    5. Refrain From Unlawful Use of Controlled Substance - The defendant shall refrain
       from any unlawful use of a controlled substance. The defendant shall submit to one
       drug test within 15 days of release from imprisonment and at least two periodic
       drug tests thereafter, as determined by the court, not to exceed 104 tests annually.

         Wells failed to attend drug testing on October 27, 2015, November 28, 2015, and
         December 10, 2015.
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    6. The defendant shall refrain from excessive use of alcohol and shall not purchase,
       possess, use, distribute, or administer any controlled substance or any
       paraphernalia related to any controlled substance, except as prescribed by a
       physician.

         On October 5, 2015, Wells tested positive for opiates, specifically codeine and morphine.
         Wells admitted to taking her aun


    7. Be Truthful - The defendant shall answer truthfully all inquiries by the probation
       officer and follow the instructions of the probation officer.

         On December 5, 2015, Wells received instruction while at the Clark County Detention
         Center to report into the probation office on December 7, 2015, at 8:00 a.m. Wells never
         reported into the probation office as instructed.

         On December 8, 2015, a home contact was attempted with Wells. Officers were unable to
         make contact with Wells and left a business card on the door instructing Wells to contact
         the undersigned officer immediately. As of this writing, Wells has not contacted the
         undersigned officer and her current whereabouts are unknown.


U.S. Probation Officer Recommendation:

The term of supervision should be:

            Revoked




                                              I declare under penalty of perjury that the
                                              information contained herein is true and correct,

                                              Executed on December 10, 2015
                                                                 Amberleigh K.
                                                                 Valdez
                                                                 2015.12.11
                                                                 09:33:08 -08'00'
                                              ______________________________
                                              Amberleigh Valdez
                                              United States Probation Officer
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 Approved:
                       Todd J. Fredlund
                       2015.12.11 09:27:42
                       -08'00'
 __________________________________________
 Todd J. Fredlund
 Supervisory United States Probation Officer



 THE COURT ORDERS


          No Action.

XXX       The issuance of a warrant.

          The issuance of a summons.

          Other:




                                               _____________________________
                                               Signature of Judicial Officer

                                                  December 14, 2015
                                               _____________________________
                                               Date
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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA
             UNITED STATES V. TAWANA LOLITA WELLS, 2:03CR00059

                 SUMMARY IN SUPPORT OF PETITION FOR WARRANT
                               December 10, 2015

By way of case history, Wells appeared before Your Honor for revocation proceedings on
September 24, 2015. Wells was sentenced to time served followed by 12 months of supervised
release. Wells was immediately released from custody and placed into drug testing, mental
health treatment, and substance abuse treatment.

On October 5, 2015, Wells tested positive for Codeine and Morphine. Wells called the
undersigned immediately after testing positive and advised that she had taken a prescription pain
medication (Tylenol 3) that was prescribed to her aunt. Wells stated she was in severe pain due
to a cyst on her ovaries. Wells was educated on the dangers of taking prescription medication
that is not in her name and was verbally admonished for the positive test.

On October 27, 2015, Wells failed to report for drug testing. On October 28, 2015, the
undersigned called Wells to inquire about the missed test. Wells advised that she had been ill
with shingles on her eye and had forgotten to call in for testing. Wells reported to the office that
day and was in noticeable pain from the shingles outbreak on her eyelid. Wells submitted to a
test which was negative for all illicit substances.

Wells then began to rapidly decline. She missed two treatment appointments and another drug
test. Wells was called into the office On December 2, 2015, to submit for a drug test. Wells
arrived with a contemptuous attitude and was argumentative with the probation officer. Wells
stated that probation was simply harassing her and preventing her from having a normal life.

Just three days after Wells presented in the probation office with a poor attitude she was arrested
by the Las Vegas Metropolitan Police Department for possessing a firearm. Wells was ultimately
released from the Clark County Detention Center and instructed to report to the probation office
on December 7, 2015, at 8 a.m. Wells never reported as instructed. Attempts were made to
contact Wells via telephone and at her residence. All attempts were unsuccessful. The
whereabouts of Wells are unknown. Wells has been placed in absconder status for a second time.
Her conduct and her insolent attitude make it clear that Wells has no desire or intention to
comply with the conditions of the Court or the instructions of the probation officer. For these
reasons, a warrant is respectfully requested. It is further requested that Wells remain detained
pending her final revocation proceedings.
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                                              Respectfully submitted,
                                                                  Amberleigh K. Valdez
                                                                  2015.12.11 09:33:27
                                                                  -08'00'
                                              ______________________________
                                              Amberleigh Valdez
                                              United States Probation Officer

Approved:
                     Todd J. Fredlund
                     2015.12.11
                     09:27:55 -08'00'
__________________________________________
Todd J. Fredlund
Supervisory United States Probation Officer
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